966 F.2d 1443
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Haneef Khalil RASHE'D, a/k/a Floyd J. Rainey, Plaintiff-Appellant,v.NORFOLK CITY JAIL;  Cody Benn, Supervisor;  David Mapp,Sheriff, Defendants-Appellees.
    No. 92-6238.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 1, 1992Decided:  June 11, 1992
    
      Haneef Khalil Rashe'd, Appellant Pro Se.
      Mark Douglas Stiles, Willcox &amp; Savage, Norfolk, Virginia, for Appellees.
      Before PHILLIPS, WILKINSON, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Haneef Khalil Rashe'd appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Rashe'd v. Norfolk City Jail, No. CA-91-559-R (E.D. Va.  Feb. 10, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    